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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 SEAN RILEY,

                        Plaintiff,                         Civil Action No. 1:22-cv-08983-AKH

         v.
                                                           NOTICE OF VOLUNTARY
 HILL INTERNATIONAL, INC., et al.,                         DISMISSAL PURSUANT TO
                                                           F.R.C.P. 41(a)(1)(A)(i)
                        Defendants.

       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff Sean

Riley (“Plaintiff”) voluntarily dismisses the claims in the captioned action (the “Action”) without

prejudice. Because this notice of dismissal is being filed with the Court before service by

defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal of the

Action is effective upon the filing of this notice.


 Dated: April 18, 2023                                ROWLEY LAW PLLC


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